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                     UNITED STATES DISTRICTCOURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

MICHAEL FUQUA, as Receiver for CRE                                                          ~ C1 ,y
CAPITAL CORPORATION
                                                            CIVI L ACTION F I LE
      Plaintiff,

V.
                                                         JURY TRIAL DEMANDED
RICHARD BYWATER and BYWATER
DEVELOPMENT SERVICES, LLC,

      Defendants .                                   }



                                   COMPLAINT

     NOW COMES Michael Fuqua, as Receiver for CRE Capital Corporation

("CIA"), and by and through undersigned counsel, files this Complaint against

Defendants Richard Bywater and Bywater Development Services, LLC

(collectively "Defendants" or "Bywater") to recover funds that Defendants

received in a fraudulent transfer from CRE as supposed commission payments for

recruiting investors to the CRE Ponzi scheme, showing the Court as follows :

                                 BACKGROUND

      On January 15, 2009, the Securities and Exchange Commission ("SEC")

      filed suit in the United States District Court for the Northern District of

      Georgia, Securities and Exchange Commission v . CRS Capital Corpor ation
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     and James G . Ossic, Civil Action rile No . 1 :09-CV-01 14-RWS (the "SF -C

     Litigation"), seeking injunctive and monetary relief against James G . Ossie

      ("Ossie") and the appointment of a receiver for CRE .

2 . The SEC alleged that from April 2008 through January 2009, Ossie and

      CRE, a company he controlled, violated the federal securities laws by

      fraudulently soliciting and inducing investors to participate in a currency

      trading investment program, by selling unregistered securities to investors

      and by operating the investment program as a Ponzi scheme . The SEC

      further alleged that Ossie made numerous false statements regarding the use

      of the investment funds, the historical rates of return on the investments, and

      the risk to the investors . Ossie claimed that investors would realize

      exorbitant profits from trading United States and Japanese currency

      contracts as the exchange rate fluctuates . The investors signed monthly

      contracts guaranteeing them a 10% monthly rate of return and paying the

      Defendants a monthly commission of 5-15% of the amount invested . While

      Ossie did in fact engage in some currency trading, this trading resulted in a

      cumulative loss of over $12 million . In fact, CRI1 was operated as a Ponzi

      scheme, using the funds of new investors to pay the principal and supposed




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      "returns" to earlier investors when such "returns" were not actually earned

      and their principal had been lost or otherwise dissipated .

3 . On January 15, 2009, the Court entered a consent order granting a temporary

      restraining order and asset freeze against Ossie and CRS . In its Order, the

      Court appointed Michael Fuqua as Receiver of CRE (the "Receiver") . The

      Order further entered a consent preliminary injunction enjoining Ossie from

      further violations of the federal securities laws . (A true and correct copy of

      the January 15, 2009 Order is attached hereto as "Exhibit A .")

4 . On June 17, 2009 Ossie filed a Consent to Judgment in the SEC v . Ossie

      Litigation, pursuant to a settlement that Ossie reached with the SEC . (A true

      and correct copy of the June 17, 2009 Consent is attached hereto as "Exhibit

      B .") The judgment enjoins Ossie from future violations of the antifraud

      provisions of the Securities Act of 1933, the Securities Exchange Act of

      1934, and the Investment Advisers Act of 1940, yet leaves it up to the Court

      to determine the amount of the civil penalty, damages and disgargement

      award .

5.    On March 17, 2009, Ossie was indicted by a federal grand jury for ten

      counts of wire fraud . (A true and correct copy of the March 17, 2009

      Indictment is attached hereto as "Exhibit C .")



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6.    Pursuant to the Indictment, it was alleged that Ossie, "aided and abetted by

      others known and unknown to the Grand Jury, did knowingly and willfully

      devise and intent to devise a scheme and artifice to defraud investors, by

      operating a fraudulent "Ponzi" scheme that raised more than $25 million

      from over 1 20 investors ."

7 . The indictment also alleges that Ossie "employed `correspondents,' or sales

      persons, who solicited investments based on these representation in

      exchange for commissions ."

8 . Ossie pleaded guilty to wire fraud and was sentenced to 82 months in

      federal prison and ordered to pay restitution of $18,761,175 . (A true and

      correct copy of Guilty Plea and Plea Agreement is attached hereto as

      "Exhibit D ." A true and correct copy of the Judgment against Ossie in the

      Criminal Case is attached hereto as "Exhibit E.") .

9 . On September 18, 2009, the Receiver filed a complaint against Alottle

      Group, LLC ("Alottle"), two subsidiaries, Alottle's principals Eric Lapin

      and Kimberly Owenby Lapin (collectively "Alottle Defendants") and other

      sales agents for CRE, assert i ng claims of fraudulent transfer, unjust

      enrichment and constructive trust, money had and received and attorneys'




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        fees and expenses based on the defendants' receipt of commissions from

        CRS for recruiting investors .

10 .    On February 25, 2010, this Court approved a settlement between the

        Receiver and the Alottle Defendants whereby the Alottle Defendants agreed

        to pay the Receiver $1,071,443 .50, and assigned any and all claims they

        may have against sub-correspondents to the Receiver . (A true and correct

        copy of the Consent Order Approving Settlement is attached hereto as

        "Exhibit F .")

11 . As detailed herein, the Bywater Defendants were paid hundreds of

        thousands of dollars in commissions by Alottle to bring in and retain

        investors for CRE . Alottle obtained the funds it paid to the Bywater

        Defendants from CRE.

                           JURISDICTION AND VENUE

 12 . The Receiver has claims against the Defendants, who improperly received,

        and have wrongfully retained, funds from CRS or who otherwise are

        obligated to return funds to CRS .

13 . The Defendants transacted business with and obtained and accepted funds

        from CRE's Georgia bank accounts, through payments to Alottle who then

        paid the funds to Defendants .



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14, The Receiver is entitled to sue Defendants in the United States District

      Court for the Northern District of Georgia for multiple reasons : (1) this

      Court has long-arm jurisdiction over them pursuant to Georgia's long-arm

      statute, O .C.G .A . § 9-10-91, due to the tortious acts in which they

      participated and committed in Georgia and (2) the Receiver has the right to

      sue them under 28 U .S .C. § § 1962 and 754 in this Court because the

      Receiver has filed the order appointing him as Receiver in the jurisdictions

      where the Defendants reside, if other than the Northern District of Georgia .

      (True and correct copies of these filed orders are attached hereto as "Exhibit

      G .")

15 . This action is ancillary to the receivership . Accordingly, this Court has

      jurisdiction over the parties and the subject matter of this action . In re

      Alpha Telcom lnc , et al ., No . CV 01-1283-PA, 2004 US Dist . LEXIS 2002

      (D . Or . August 18, 2004) ; Quilting v . Grand Street Trust, et al ., No . 3 .04 CV

      251, 2005 WL 1983879 (W .D .N.C . August 12, 2005) .

16 . In addition, this action arises from and is directly related to the SEC

      Litigation, which provides for nationwide service of process under federal

      securities laws . 15 U .S .C . § § 77v(a) and 78aa .




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17 . Jurisdiction and venue are appropriate in this Court as to the Defendants

      pursuant to 28 [J .S .C . § § 1962 and 754, and the Georgia long-arm statute,

      O .C .G.A. § 9-10-91 .

                               THE DEFENDANTS

      B, water Development Services, LLC and Richard I3 .

18 . Bywater Development Services, LLC ("Bywater Development") was a

      Virginia limited liability company, which has been administratively

      dissolved for failure to pay fees since December 2008 .

19 . Mr . Richard Bywater was Bywater Development's sole member .

20 . Mr . Bywater was Bywater Development's registered agent .

21 . Mr . Bywater is an individual currently residing in Cornelius, North

      Carolina .

22 . Through fraudulent transfers, among other things, Defendants have

      wrongfully received, and have failed to return, money and property that

      rightfully belong to the Receivership .

23 . The Defendants have received and have failed to return money that

      rightfully belongs to CRE .

24 . Sales agents for CRE received commission payments for marketing the C R E

      investment prop rams and for referring investors to CRE . In the CRE



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        structure, these sales agents were called "Correspondents ." Sales agents

        were also employed by the Correspondents . The sales agents hired by the

        Correspondents are also called "sub-correspondents ."

25 . Alottle was a Correspondent for CRE . Alottle paid the Bywater Defendants

        as a sub-correspondent for CRE pursuant to a Referral Agreement between

        Alottle and Bywater Development . (A true and correct copy of the Referral

        Agreement is attached hereto as "Exhibit H .")

26 .    The Referral Agreement provided that Bywater Development would receive

             commission From Alottle for each person that Bywater Dcvclopinent

        recruited to invest in CRE . Other records from Alottle indicate that

        Bywater's commission was approximately 5% to 7 .5% per month of the

        total amount invested each month . (A true and correct copy of an Alottle

        document titled "Rich's deals" is attached hereto as "Exhibit I .") .

27 . The Defendants recruited investors for CRE by telling poteritial investors

        that their principal was 100% guaranteed and that they were also guaranteed

        interest payments of 10% to 20% per month (called "Return on Investment"

        or "ROY' in the CRE structure), which amounted to 120% to 240% per

        .'




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2 8 . In order to invest, the investor entered into a "30 day Currency Trading

        Contract" or a "30 day Forex Trading Contract" with CRE . The investor

        had to invest a minimum of $100,000 for 30 days . CRE promised a monthly

        return of 1 0% (See Ex . J), 1 5% (See Ex . K), or 20% (See Ex . L) . CRE also

        guaranteed the return of principle invested . Id .

29 . The Correspondents and sub-correspondents received a commission for each

        client they recruited and whom invested in CRE, and for each month that the

        client's investment remained at CRE . These commission payments ranged

        from 5-16% per month, and thus 60-192% per year.

30 . The Defendants reaped enormous commissions from the funds that they

        solicited into the scheme .

31 .    13y simple calculation, Defendants knew or should have known that to pay

        investors a guaranteed 10-20% per month and commissions to

        correspondents of 5-16% per month, CRE had to somehow earn more than

        15-36% per month and 180-432% per year on its currency trading, which,

        by its very nature, was a highly risky investment venture .

3? . Defendants ignored the obvious red flags raised by CRE's promise of no

        risk of loss of principal and guaranteed monthly returns and commissions on




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       an investment that by its nature could not b e guaranteed and would be

       expected to fluctuate widely .

3 ~ . Defendants failed to disclose to the persons that they recruited to invest, the

       amount of commissions the Correspondents were receiving, and that in most

       instances, the commissions exceeded the amount of return that was paid on

       the investment.

34 . These Defendants were paid more than 5% per month commission on the

       investments made (and lost) by others .

35 . Defendants should not be permitted to retain the ill-gotten gains paid to

       them in exchange for recruiting investors to place their funds in this illegal

       scheme .

36,    Commission payments were made from CRE to Alottle, a Correspondent .

        Alottle then made commission payments to Mr . Bywater or Bywater

        Development as a sub-correspondent, Thereafter, upon information and

        belief'. Bywater Development ma de p ayments to Mr. Bywate i and/or Mr .

        Bywater spent funds from Bywater Development for his own personal use .

37 . Defendants have profited from the CRE Ponzi scheme, receiving excessive

        commissions and have profited from the illegal scheme, and their sales




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        efforts, to the detriment of their friends, family and colleagues, who have

        suffered net loss positions .

                               STATEMENT OF FACTS

        Offerings and Sales of S ecuritie s on Behalf of CRE

38 .    The investments sold by Ossie, the Correspondents, sub-correspondents and

        the Defendants were securities under 15 U .S .C . § 77q and § 78j, and the

         sales were made in violation of federal securities laws . Ossie, the

         Defendants and others were selling securities that were not registered with

         the SEC and were not exempt from registration . CRC, Ossie, and those

         se l ling the securities were not registered as securities dealers, bro kers, or

         investment advisors with the SEC, any self regulatory organization, or any

         state securities regulatory authority, as was required . Moreover, Ossie, the

         Defendants and others affiliated with CRE were selling these securities

         through the misrepresentation and misleading omission of material fact in

         disclosure materials and oral communications with investors and through

         fraudulent schemes and manipulative devices that deceived investors .

39 . Without the active solicitation of investors and subsequent sales of securities

         by the Defendants, Ossie and other agents of CRIB, the Ponzi scheme, which

         defrauded investors of over $18 million, Would and could not have occurred .



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40, Ossie and other agents of CRS, including the Defendants, offered and sold

      at least $27 .9 million of securities to more than 140 entities (through which

      individual investors placed their funds), and whom Ossie and the

      Defendants led to believe were putting money into actual, legitimate and

      profitable investments . CRE and the Defendants represented that CRE

      made a profit by trading United States and Japanese currency as exchange

      rates fluctuated .

41 . CRE would not accept business from individual investors . Rather, CRL

      required that all investors be a corporation or a limited liability company .

4 2 . The Defendants were "sub-correspondents," who acted as sales agents or

      referral sources who recruited investors into CRE through Alottle and were

      paid commission payments .

43 . CIZI,through Defendants and other agents, offered "30 Day Currency

      Trading Contracts" ("Trading Contracts") at a minimum investment amount

      of $100,000 . (True and correct copies of sample Trading Contracts are

      attached hereto as Exhibits J, K and L)

44 . Investors with less than the minimum investment of $100,000 were allowed

      to pool their investment with other investors to reach the $1X0,000

      minimum .



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45 . At the end of the "Trading Contract, the investors were promised a return on

      investment ("ROI") payment and had the option of having their principal

      returned or entering into a new Trading Contract .

46 . CRE and Defendants promised investors a guaranteed ROI of 10% to 20%

      per month, or 120% to 240% per year, on each of their $ 100,000

      investments . (See Exhibits J through L) .

47 . CRE paid commissions to its correspondents, including the Defendants, on

      the Trading Contracts . Commissions were paid when a new client signed a

      Trading Contract for the first time and upon each ensuing monthly renewal

      of their Trading Contract .

48 . The monthly percentage commission paid by CRE to its correspondents

      varied, but generally ranged between 5% and 16% ofthc i-nonthl Trading

      Contract amount, which amounts to 60% to 192% of the invested funds after

      twelve months .

49 . CRE, through Ossie and the Defendants, told investors that their investment

      in CIZL carried little risk because CRE had established a "reserve" fund

      which would not be traded or exposed to any ris k and would always be

      available to pay promised interest and redeemed principal should CRE's




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        trading activities become unprofitable . The Reserve Fund was supposed to

        contain 30% of all funds invested in CRE .

50 . In reality, the investments were not risk-free and CRC did not maintain a

        reserve account with assets anywhere near sufficient to cover the promised

        R OI or the invested principal .

51 .    CRE and Ossie did use a portion of the invested funds to conduct currency

        trading through two separate trading accounts . However, CRE and Ossie's

        trading was not profitable, and in fact, the trading activity resulted in a net

        loss of approximately $12 .2 million .

52 . CRE paid approximate ly $ 1 3 .5 million to investors and correspondents out

        of the $28 .2 million collected from investors .

53 . The funds paid out to investors as the return of principal and supposed

        "ROI" did not come from returns on the investments, as was represented,

        but instead came from money put into CRC by other investors .

54 . Without the active solicitation of investors and subsequent sales Of Securities

         by CRE, through Defendants, the Ponzi scheme, which defrauded investors

         out of'ovcr $28 million, would not have occurred . The extremely high rate

         of commission paid to the Defendants also contributed to the Ponzi scheme




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        character of the trading program and very substantially increased the

        investors' losses .

55 . When the Receiver took possession of CRE, CRE's bank and trading

        accounts contained less than $360,000 .

56 .    Approximately $16 million in investor funds are missing ; at least $607,179

        of that amount, but possibly more, was transferred from CRI : to these

        Defendants .

        Conduct of the llcfcndants

57 . The Defendants were sub-correspondents for CRE through Alottle and

        served as sales agents to solicit unsuspecting persons to invest their funds in

        the C IU1 Ponzi scheme .

58 . Beginning in May 2008 and continuing through January 2009, the CRE

         Correspondents and sub-correspondents, including Defendants, offered and

         sold investment contracts with CRE to investors in various states including,

         but not limited to, South Carolina, North Carolina, Connecticut, Alabama,

         Georgia, Maryland, Nevada, Pennsylvania, Virginia, Florida, California,




~ According to Alottle's bank statements, Bywater received $553,929 in total commission payments in 2008 and
$53,250 in 2009, totaling S607,1 79 . E lowever, Alottle's 2008 1099 tax form indicates that Bywater was paid
$572,929 in 2008 with $561,129 ofthat amount being commissions . When that amount is added to the 2009
payments, the total is $614,679 . (l x . M) .


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        Tennessee, Washington, Oregon, Delaware, Iowa, New Jersey, Colorado,

        Idaho, Missouri, Indiana and the District of Columbia .

59 .    CRS;, the Correspondents and the sub-correspondents, including the

        Defendants, provided materially false information concerning CRIB and the

        proposed investments, including stating that the investments were safe and

        risk-free . In fact, the investments were a sham and the representations were

        false .

60 .    CRE, the Correspondents and the sub-correspondents, including the

        Defendants, represented to investors that their investment would generate a

         10% to 20% return per month through CRE's trading of United States and

        Japanese currency . In (pct, CRE lost over $12 million in its currency trading

        activities, was never profitable and the only way that CRIB was able to pay

        ROI or commissions was by using the new investments of other investors .

61 . In essence, CRE was robbing the new investors to pay CRE, the

         Correspondents, the sub-correspondents, including the Defendants, and the

         older investors . In order to keep the scheme running, CRE needed a

         constant flow of new investments .

6? . CRE, the Correspondents and the sub-correspondents, including the

         Defendants, told investors that their invested money was guaranteed because



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        CRE maintained a "reserve" account with a balance sufficient to cover (1) a

        full return of principal to all investors, and (2) guaranteed IZOL

63 . In fact, CRE maintained almost no funds in any supposed reserve account

        and at all times was wholly insufficient to cover the principal amount

        invested or the "guaranteed" ROI .

64 .    The supposed investments in CRE sold by the Correspondents and the sub-

        correspondents, including the Defendants, offered no protection of investor

        funds . The excessive unsuitable guaranteed ROI payments and the

        Defendants' excessive commissions were destined to cause loss . The CRE

        investment was highly unsuitable to every single person the Defendants

        solicited .

Ca . The Correspondents and the sub-correspondents, including the Defendants,

        were paid a certain agreed-upon percentage of each Trading Contract they

         brought in to CRL and a certain agreed-upon percentage for each month that

        the Trading Contracts were renewed . The percentages paid changed over

         time .

66 .     The money used to pay the commissions to these Defendants constitutes ill-

         gotten gains from the fraudulent sales of unregistered securities to

         unsuspecting investors . The Defendants have no legitimate claim to receive



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        or retain the commissions because the commissions were paid to them

        specifically for their role in causing these illegal sales of the unregistered

        securities, as described herein, to occur .

67 . The money used to pay the commissions to the Defendants also constitutes a

        fraudulent transfer under O .C.G .A. § 18-2-7 0 et. seq . The Defendants'

        participation in and their role in causing these illegal transactions to occur

        did not constitute valuable consideration, but instead was wrongful and

        caused CRE loss and caused and/or contributed to CRE's insolvency .

68 .    CRE made these commission payments to Alottle, and Alottle in turn made

        the payments to the Defendants, while CRE was insolvent and without

        ensuring that CRE received services or other consideration of reasonably

        equivalent value .

69 . Upon information and belief, Mr . Bywater spent the funds in Bywater

         Deve l opment's accounts for his own persona l use .

70,      Neither Bywater Development nor Mr . Bywater provided any reasonably

         equivalent value in exchange for the exorbitant commission payments that

         they received .

71 . The payments to the Defendants were, accordingly, fraudulent transfers of

         CRTs assets .



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72           I'he Defendants are not entitled to retain these funds and are obligated to

            repay them to CRIB so they can be repaid to investors .

                                     Bywater Development and Richard I3ywatcr

73          Bywater Development's actions were completely controlled by Richard

            F3ywater .

74          Mr, Bywater and/or Bywater Development referred approximately 28

            investors to CRE, many of whom could not afford to lose funds in risky

             investments, including a family who was investing funds donated to fight

            their daughter's cancer .

75          Mr . Bywater and/or Bywater Development brought into CRE approximately

             $3,200,000 from approximately 28 investors .

76           From May 200 to January 2009, Bywater was paid commissions of at least

             $607,179, and possibly more, for referring these investors to CRE .

77           Bywater received the following amounts from CRT (through Alottle) on or

             about the following dates :

     Paydate         ~ Comm . Paid              9 1 512008 $3 , 75             101 1 ! 2008 $1 , 500

     81 1 2! 2 008       $3 , 750              9/11/2008          $7 , 500     10/1/2008         53 , 750

     8/15/2008           $7,500                9 11 1 1209 8 $3 , 750          101 81 2008       $3 , 750

                                               9 1 11 12 00 8   $3 , 750       10181 2008        $3 , 75 0
     811512008           $5,250
                         $7,500                9 1 1 112908 $3 , 750          10/10/2008         $3,750

                                               9 1 11 12 008      $3,750      10 1 101200& $3 , 750
      913 12DOS          $3,750
      9/3/2008           $3,750                9 11 7 /200 8      $ 3 , 750   101 1 0 120 08   53 , 750

      9 1312DD8          $3,750                10/1 i 2008        $3,750                         $ 3,75




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78 .     Bywater owes the Receiver at least $607,179, and possibly more .

79 . The Receiver made demand to Mr . Bywater and Bywater Development for

         the return of these funds . (A true and correct copy of the Receiver's demand

         letter to I3ywater is attached hereto as "Exhibit N .") Mr . Bywater and

         I3ywatcr Development have failed to return any of the money they received .

                                  CAUSES OF ACTION

        COUNT I - FRAUDULENT TRANSFER (O .C .G.A. § 18-2-70 et seq .)

S() . The Receiver incorporates and re-alleges paragraphs 1 through 79 as if set

         forth fu l ly herein .

81 . Despite promises to keep investor funds in CRE accounts to use in trading

         United States and Japanese currency, Ossie and other representatives of'

         CRE directed the transfer of nearly all of the funds out of CRL's bank

         accounts unrelated to supposed investments .

The Transfers to Defendants Constitute "Fraudulent Transfers" under Georgia Law

S? . As a result of these transfers, CRE was left with assets unreasonably small

         in amount and value in relation to the business in which it was engaged and

         the obligations it owed and contributed to its insolvency .




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$ , . CRT was operated as a Ponzi scheme, as a direct and intended result of

         which caused CRE to incur debts to investors and other obligations far

         beyond CRE's ability to repay such obligations .

84 . As a Ponzi scheme, CRS was insolvent from inception and was insolvent at

         the time of the transfers to Defendants .

85 . Salespersons who extend the fraud of a Ponzi scheme by recruiting ne"T

          investors do not provide the Ponzi scheme with reasonably equivalent value

          in exchange for the coinmi 5s ions paid to the salesperson .

86 . CRE was operating as a Ponzi scheme and as such, as a mat ter of law, did

          not receive consideration of any value, much less reasonably equivalent

          value, in exchange for the transfers to Defendants .

.87 .     Defendants did not provide services to CRE or Alottle which would entitle

          them to receive fees, compensation or commissions from CRE or Alottle .

8 S . Defendants received at least $607,179 from CRE, through Alottle, as

          commission payments for recruiting investors .

89 . The Receiver made a demand for the return of funds from the Defendants,

          but they have failed and refused to repay the amounts owed to tile

          Receivership .




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90 .     Defendants are liable to the Receivership for the funds that they received

         from CIZL, plus interest at the legal rate since the tirne of receipt .

       C OUN T lI UNJUST EN RI C HMEN T AND C4NS'F l2 UCT [ VE "1'12US"I'

91 . The Receiver incorporates and re-alleges paragraphs I through 90 as if set

         forth fu l ly herein.

92 .     As set out above, these defendants received over $607,000 to from Clzl::,

         through Alottle .

93 . Upon information and belief, Mr . Bywater caused Bywater Development to

         distribute some or all of the commission payments received from CRE to

         himself.

94 . CRE unlawfully obtained the investments from investors . Accordingly, the

         commissions paid to and received by the Defendants are the proceeds of

         CKL's illegal activities and are impressed with constructive trust .

95 . The Defendants received the funds as commissions for referring investors to

         CRE .

96 .     The Defendants did not convey any item of value or perform any services

         for the legitimate benefit of CRS in exchange for the transfers from CRL .

97 . The Defendants accepted, retained, and wrongfully benefited from the

         transfers from CRE.



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9 8 . It would be inequitable for the Defendants to retain the funds they received

         from CRE .

99 . The Defendants have been unjustly enriched .

100 . The Receiver is entitled to recover the amounts transferred to the

         Defendants .

101 . The Receiver is entitled to recover prejudgment interest from the Defendants

          from the date of the receipt of such funds .

                      COUNT III - MONEY HAD AND RECEIVED

102 . The Receiver incorporates and re-alleges paragraphs 1 through 1 .01 as if set

          forth fully herein .

1U3 . As set forth above, Defendants received over $607,000 ft-orn CRE, through

          Alottle .

104 . Upon information and belief, Bywater Development then transferred the

          funds to Mr . Bywater .

105 .     Upon information and belief, Mr . Bywater caused the Bywater Development

          to distribute the money received from CRE through Alottle to himself or

          spent funds in Bywater Development's bank accounts for his own use .

106 . The amounts paid to the Defendants are proceeds that were unlawfully

          obtained from investors by means of artifice and fraud . Accordingly, the



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          coininissions received by the Defendants are impressed with constructive

          trust .

107 . The Defendants received the funds as commissions for referring investors to

           CRE .

108 . The Defendants have retained the funds they received from CRE through

           Alottle for their own use and have supplied no benefit to CRE .

109 . CRE has been insolvent since its inception .

110 . CRE is the rightful owner of these funds and, in turn, owes payments to its

           investors .


1 11 .     The Defendants have refused to return the funds in their possession that

           belong to CRI :despite the Receiver's demand for return of the funds .

112 . As a direct and proximate cause of the Individual Defendants' failure to

           return the funds in their possession that belong to CRE, CRE has been

           damage d .

113 . The Defendants are liable to CRE for the amounts that each received .

                    COUNT IV-A7"TQRNEYS' FEES AND EXPENSES
                                  PURSUANT TO O .C.G .A . 13-6-11

114 . The Receiver incorporates and re-alleges paragraphs 1 through 108 as if'set

           forth fully herein .




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11 5 . These Defendants have acted in bad faith, been stubbornly litigious, and

        caUsed the Receiver unnecessary trouble and expense .

116,    Accordingly, the Receiver, on behalf of CRI :, is entitled to recover his

        attorneys' fees and expenses incurred in this action .

WHEREFORE, the Receiver respectfully prays that :

        (a) This case be tried before a jury .

        (b)   The Court award to the Receiver, on behalf of the Receivership,

              damages in an amount to be determined at trial plus interest at the

              maximum legal rate accruing from July 27, 2009 or the earliest day

              allowed by law .

         (c) That the Court impose all costs of this action, including reasonable

              attorneys' fees, on the Defendants set forth in Count IV, and on

              behalf of CRL ;

         (d) That the Court award the Receiver prejudgment interest on all

              damages at the highest rate allowed by law against the Defendants set

               forth above ; and

         (e) That the Court award to the Receiver, on behalf of CRE, such other

               and further relief as the Court deems just and proper .




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      Respectfully submitted this ~J        day of March 2010 .




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